Case 3:08-cr-00281-PAD   Document 2881   Filed 06/14/12   Page 1 of 6



                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA
Plaintiff
vs                                         CRIMINAL 08-0281CCC
1) ISMAEL VAZQUEZ-LARRAURI, a/k/a Tara,
a/k/a Junito, a/k/a El Gordo
2) VICTOR RODRIGUEZ-RIVERA, a/k/a Vitín
3) HIRAM TORRES-AVILES, a/k/a Bizcocho
4) ADALBERTO LEON-COLLAZO, a/k/a Berto
5) LUIS CARTAGENA-CARRASQUILLO,
a/k/a Luis Moco
6) JULIO MORALES-VAZQUEZ, a/k/a Julio
Quilla
7) JOSE RIOS-HERNANDEZ, a/k/a El Gordo
de la Vega, a/k/a Tati Ríos
8) JOSE O. VAZQUEZ-FIGUEROA,
a/k/a Chopa
9) NELSON CARDONA-SANTIAGO
10) FELIPE LOPEZ-DE LA CRUZ
11) BRENDA RODRIGUEZ-MARQUEZ,
a/k/a La Punky
12) JOSE RICARDO BURGOS-RESTO,
a/k/a Ricky Burgos
13) JAIRO VELAZQUEZ-RIVERA
14) FERNANDO GONZALEZ-COLON,
a/k/a Naldin
15) HECTOR DIAZ-NOGUERAS, a/k/a Chico
16) EDWIN SANTOS-MARTINEZ, a/k/a Chino,
a/k/a Chinito
17) LUIS ROSARIO-RIVERA, a/k/a Luis el
Negro
18) ROBERTO ORTIZ-RODRIGUEZ,
a/k/a Robert el Viejo
19) ELIEZER BURGOS-TORRES, a/k/a Eli
20) JOSE JIMENEZ-ROBLES, a/k/a Joy
21) ANGEL IGARAVIDEZ-GONZALEZ,
a/k/a Bebo
22) LEONARDO RIVERA-VICENTE, a/k/a Naldi
23) HECTOR L. VAZQUEZ-NIEVES,
a/k/a Hectitor
 Case 3:08-cr-00281-PAD   Document 2881    Filed 06/14/12   Page 2 of 6



CRIMINAL 08-0281CCC                  2


24) VICTOR SUAREZ-LAGO, a/k/a Pakay
25) ABRAHAM GARCIA-RIVERA, a/k/a Juni,
a/k/a Juni Morrina
26) ALEXANDER ARROYO-GONZALEZ,
a/k/a Alex Colchoneta
27) JOSE L. GONZALEZ-RIVERA, a/k/a Cano
Diente
28) CARLOS O. RIVERA-RODRIGUEZ,
a/k/a Carlos Omar
29) EFRAIN SANTIAGO-BURGOS,
a/k/a Miyagui
30) NOELIA LOPEZ-ORTIZ
31) EUCLIDES DE JESUS-ROSA, a/k/a Clidu,
a/k/a El Viejo de Coamo
32) MARLYN MARCANO-LOPEZ
33) ESTEBAN O. SERATE-SANTIAGO,
a/k/a Omi el Negro
34) JASON JAUME-SUAREZ, a/k/a Jason
35) JAVIER CASTRO-SUAREZ, a/k/a Javi
36) OMAR RODRIGUEZ-ARROYO, a/k/a Omi
Planicie
37) ALEX M. TRINIDAD, a/k/a Alex
38) CARLOS A. RIVERA-MALAVE, a/k/a La
Ponca
39) JUAN C. SANTEL-MELENDEZ,
a/k/a Melaza
40) RAYMOND RIVERA-RIVERA
41) CHRISTIAN ORTIZ-MELENDEZ
42) SERGIO RODRIGUEZ-MENDOZA
43) CARLOS SUAREZ-VEGA, a/k/a Bribón
44) MIGUEL VELEZ-BONILLA, a/k/a Cano,
Cachete
45) JOSE R. ORTIZ-RIVERA, a/k/a Pito
46) JOSE LUIS LOPEZ-MENDEZ, a/k/a Ñoño,
a/k/a Kiko
47) ENRIQUE RODRIGUEZ-MARQUEZ
48) CARLOS ROSARIO-ROSARIO, a/k/a Pinto
49) ALEX ORTIZ-CARABALLO, a/k/a Bocudo,
a/k/a Mocudo, a/k/a Flaco
 Case 3:08-cr-00281-PAD       Document 2881      Filed 06/14/12    Page 3 of 6



CRIMINAL 08-0281CCC                         3


 50) GERARDO MARCANO-RIVERA,
 a/k/a Bebe
 51) ISMAEL OCASIO-LAGO, a/k/a Ismaelito,
 a/k/a Esquimalito
 52) WILLIAM VAZQUEZ-RIVERA, a/k/a Cabito
 53) ANGELICA DELGADO-VALDEZ,
 a/k/a Angie
 54) NELSON MARTINEZ-ROMAN
 55) HUMBERTO CARABALLO-RESTO,
 a/k/a Papo XXX
 56) RAMON FALCON-SANTOS, a/k/a Bebe
 57) OBED JIMENEZ-ROBLES
 58) ANGEL R. LAGO-CAMACHO, a/k/a Rafi
 59) JOVANNY SIERRA-ORTIZ
 60) ZANDY TORRES-MENDEZ
 61) ALEXIS LOPEZ-PEREZ, a/k/a Pamela
 62) JOSE BARRETO-LUGO
 63) JOSE A. ORTIZ-RIOS, a/k/a Papo Lover
 64) BENJAMIN CLAUDIO-COTTO, a/k/a Puchi
 65) OSVALDO IRIZARRY-RIVERA,
 a/k/a El Gringo
 66) ERIC A. RODRIGUEZ-MARTINEZ,
 a/k/a Testin
 67) DIGNA VIOLETA-LARRAURI
 68) VANESSA RIVERA-MELENDEZ,
 a/k/a Vanessa Black Angus
 69) NELIDA ORTIZ
 70) RICARDO ORTIZ-RIVERA, a/k/a Deo
 71) YARITZA MELENDEZ-FUENTES
 Defendants



                                        ORDER

      During the June 14, 2012 morning session of the trial, A.U.S.A. George Massucco
requested that the Court allow testimony of government witness Wilfredo López-Martínez,
on direct, having to do with sales of eight firearms made by the witness at the request of
 Case 3:08-cr-00281-PAD        Document 2881       Filed 06/14/12     Page 4 of 6



CRIMINAL 08-0281CCC                           4

co-conspirator Hiram Torres. This was proffered as evidence in support of Count Six of the
Indictment, the weapons conspiracy. A proffer of such testimony was made outside the
presence of the jury.
       Count Six of the Indictment charges that from on or about the year 2003 and
continuing until the return of the indictment in August 2008, defendant Ismael
Vázquez-Larrauri (1) and nineteen other defendants named in that Count conspired to
knowingly and intentionally possess firearms during and in relation to a drug trafficking
offense, as charged in Counts One, Two, Three, Four and Five. The proffered testimony
of López-Martinez is made under Fed. R. Evid. 801(d)(2)(E) which provides that a statement
made by a co-conspirator of a party during the course and in furtherance of the conspiracy
is admissible. Translated to the text of the Indictment, specifically Count Six which runs in
tandem with Count One, for the co-conspirator statements proffered to be admissible they
would have to be made during and in furtherance of the drug conspiracy charged in Count
One of the Indictment. The fact that statements made by a co-conspirator declarant to a
third party are admissible under Rule 801(d)(2)(E), regardless of whether the third party is
a tipster, an informant, an undercover officer or a mere acquaintance, does not eliminate the
foundational requirements of the Rule. United States v. Colón-Díaz, 521 F3d 29, 36, n. 3
(1st Cir. 2008).
       The Court has given careful consideration to the proffer with respect to the
statements of co-conspirator Hiram Torres to witness López-Martínez. Hiram’s statements
to the witness on the sale of eight firearms, in support of Count Six, would not meet the Rule
801(d)(2)(E) requirement that his statements were made in furtherance of the conspiracy
charged in Count One, to wit: a drug trafficking conspiracy. The proffered testimony reflects
that the sale as to the eight firearms were private dealings between the witness and the
declarant, and, therefore, Hiram’s statements to López-Martínez with respect to the sale of
the weapons did not further the conspiracy in which Hiram allegedly participated as a
member of the drug organization of defendant Vázquez-Larrauri. The proffered testimony
 Case 3:08-cr-00281-PAD        Document 2881       Filed 06/14/12     Page 5 of 6



CRIMINAL 08-0281CCC                           5

divides the weapons into two sets. A first set of weapons stashed by one “Bebe” and “Cheo”
at Salinas, at or near the cockfighting arena, and a second set of four other firearms stashed
at “El Farallón” in Cayey. The first set was linked by the witness as having been later made
available to some people who ran a drug point at Santa Isabel by defendant
Vázquez-Larrauri.    These are the ones described by the witness as a carabine, an
AK 47 rifle, a shotgun and an R-15 rifle.
       The following proffered testimony is relevant to the Court’s determination that
co-conspirator Hiram’s statements on the sale of firearms by the witness were not made in
furtherance of the conspiracy: Referring to the four weapons stashed in Salinas and later
located and sold in Santa Isabel, the witness’ testimony was that he sold them between
November 2006 through October 2, 2007 for a total of $9,000.00, of which he kept around
$3,500.00 and gave Hiram $5,000.00; that Hiram told him that after he got himself a case
in 2006 defendant Vázquez-Larrauri and Hiram gave them for lost; and that “Bebé” and
“Cheo” subsequently recovered them.            Hiram further said to the witness that
Vázquez-Larrauri did not know anything about the weapons having been recovered and that
he (Hiram) and the witness could made some money out of it.
       Regarding the sale of the second set of weapons stashed at “El Farallón” in Cayey,
Hiram told the witness that these weapons belonged to defendant Vázquez-Larrauri but not
to tell anyone so that nobody would know that those weapons had disappeared because of
him, that Hiram had introduced him to a friend known as “Diego” for the witness to sell the
weapons to such friend; that Hiram gave him the weapons in Cayey, that the firearms at “El
Farallón” belonged to Vázquez-Larrauri, that since Hiram needed money he told the witness
that he would take the weapons out from where they were stashed to sell to “Diego” and for
the witness to keep part of the money and give Hiram the rest.
       The several statements made by Hiram to the witness regarding weapons ownership
by defendant Vázquez-Larrauri would qualify as information exchanged between
co-conspirators during the course of a conspiracy if Hiram and the witness López-Martinez
 Case 3:08-cr-00281-PAD         Document 2881       Filed 06/14/12    Page 6 of 6



CRIMINAL 08-0281CCC                           6

were co-conspirators at the time that they were made. Such, however, is not the case.
More significant yet to the Court’s determination is the fact that the statements themselves
of declarant co-conspirator Hiram Torres to the witness clearly point to transactions, of which
defendant Vázquez-Larrauri was not made privy, meant to advance their own personal
economic interests. These private dealings did not further the illegal objectives of the drug
conspiracy for the weapons were sold solely for the financial benefit of Hiram, not of the drug
trafficking organization or its members. The testimony points to a sale of weapons, behind
Vázquez-Larrauri’s back. This is manifested both by Hiram’s statement to the witness not
to tell anyone about the sale of the weapons stashed at Cayey so they would not know that
those weapons had disappeared because of him and by his other statement, regarding
Salinas/Santa Isabel weapons, that it was precisely because Vázquez-Larrauri did not know
anything about the recovery of those weapons that Hiram and the witness could make some
profit from their sale.
       In sum, the statements of Hiram to the witness, as co-conspirator of the defendant,
were made, not in furtherance of any conspiracy charged, but instead in furtherance of their
own illegal agreement to sell weapons for their own personal gain.
       For the reasons stated, the testimony proffered by Wilfredo López-Martínez outside
the presence of the jury today related to the sale of eight weapons is disallowed. The
government counsel is admonished that he is not to make any reference, direct or indirect,
to the sale of any of those weapons by Mr. Lopez-Martínez at the request of Hiram Torres.
       SO ORDERED.
       At San Juan, Puerto Rico, on June 1, 2012.



                                                  S/CARMEN CONSUELO CEREZO
                                                  United States District Judge
